UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 FINDIGS, INC.,                                               :
                                              Plaintiff,      :
                                                              :    22 Civ. 7404 (LGS)
                            -against-                         :
                                                              :          ORDER
 HENSON ORSER, et al.,                                        :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, an Order issued October 19, 2022, scheduled the initial pretrial conference

for this matter for November 2, 2022, at 4:10 p.m. The parties submitted a joint letter and

proposed case management plan on October 26, 2022.

        WHEREAS, no significant issues were raised in the materials. It is hereby

        ORDERED that the November 2, 2022, initial pretrial conference is CANCELLED. If

the parties believe that a conference would nevertheless be useful, they should inform the court

immediately so the conference can be reinstated. The case management plan and scheduling

order will issue in a separate order. The parties’ attention is particularly directed to the provisions

for periodic status letters, and the need for a pre-motion letter to avoid cancellation of the final

conference and setting of a trial date. The parties should be aware that the Court does not extend

the deadlines for fact and expert discovery absent compelling circumstances. It is further

        ORDERED that the parties’ request for discovery to commence after settlement

discussions with Magistrate Judge Netburn is DENIED. The parties shall begin discovery

promptly, in line with the deadlines outlined in the case management plan. An order referring the

parties to settlement discussions in front of Judge Netburn will issue separately.

Dated: October 27, 2022
       New York, New York
